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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

UNITED STATES OF AMERICA


vs.                                                 2:07-cr-20-FtM-29DNF

LYNETT GADSDEN
KEVIN SINGLETON
_____________________________


                           OPINION AND ORDER

      On April 10, 2007, United States Magistrate Judge Douglas N.

Frazier submitted a Report and Recommendation (Doc. #44) to the

Court   recommending   that   Defendant    Lynett   Gadsden’s   Motion   to

Suppress Identification (Doc. #33) and Kevin Singleton’s Adopted

Motion to Suppress be denied. No objections have been filed, and

the time to file such objections has expired.

      After conducting a careful and complete review of the findings

and recommendations, a district judge may accept, reject or modify

the magistrate judge’s report and recommendation.             28 U.S.C. §

636(b()1);    Williams v. Wainwright, 681 F.2d 732, 732 (11th Cir.

1982), cert. denied, 459 U.S. 1112 (1983).       A district judge “shall

make a de novo determination of those portions of the report or

specified proposed findings or recommendations to which objection

is made.”     28 U.S.C. § 636(b)(1)(C).         This requires that the

district judge “give fresh consideration to those issues to which

specific objection has been made by a party.”        Jeffrey S. by Ernest

S. v. State Bd. of Educ. of Ga., 896 F.2d 507, 512 (11th Cir.
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1990)(quoting H.R. 1609, 94th Cong., § 2 (1976)).                 The district

judge reviews legal conclusions de novo, even in the absence of an

objection.     See Cooper-Houston v. Southern Ry. Co., 37 F.3d 603,

604 (11th Cir. 1994).

     After    reviewing     the    Report   and    Recommendation       and   the

transcript of the evidentiary hearing, the Court fully agrees with

the findings of fact and conclusions of law made by the magistrate

judge.       Accordingly,    the    Court   will    adopt   the    Report     and

Recommendation and will deny the motions to suppress.

     Accordingly, it is now

     ORDERED:

     1.      The Magistrate Judge’s Report and Recommendation (Doc.

#44) is accepted and adopted, and it is specifically incorporated

into this Order.

     2.        Defendant    Lynett     Gadsden’s     Motion       to    Suppress

Identification (Doc. #33) is DENIED.

     3.   Defendant Kevin Singleton’s Adopted Motion to Suppress is

DENIED.

     DONE AND ORDERED at Fort Myers, Florida, this                5th     day of

June, 2007.




Copies:
U.S. Magistrate Judge
Counsel of Record


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